                   Case 17-10671      Doc 31     Filed 05/15/17       Page 1 of 4



               IN THE UNITED STATES BANKRUPTCY COURT FOR MARYLAND
                                 SOUTHERN DISTRICT

       In re                                 *        Chapter 13

ANTHONY HARRIS                               *        Case No. 17-10671

       Debtor,                               *



                      CREDITOR CASSANDRA BOSTON’S OBJECTIONS
                     TO CONFIRMATION OF DEBTOR’S PROPOSED PLAN

       Creditor Cassandra Boston, through her attorney, Kerry J. Davidson, Esq., who holds a

judgment of $144,881.40 (“Divorce Judgment”) against the Debtor, Anthony Harris, pursuant to

a divorce proceeding against him, hereby objects to the Debtor’s proposed confirmation plan, as

it fails to recognize that Ms. Boston’s claim is a domestic support obligation (“DSO”) as defined

by 11 U.S.C. § 101(14A) and 11 USC § 523(a)(5). Attachments 1-2.

       In addition, Ms. Boston also objects because the Debtor continues to substantially

underreport and misrepresent his assets and income.

       1.       Under direction from this Court, and pursuant to its Order in Debtor’s previous

Chapter 7 filing, the Circuit Court of Prince George’s County ruled the entire Divorce Judgment

to be a non-dischargeable DSO, including the attorneys’ fee portion of the judgment.

Attachments 3-5.

       2.       As a non-dischargeable DSO, the Divorce Judgment must be fully paid within the

term of any Chapter 13 Bankruptcy Plan to be confirmed by this Court. Therefore, any proposed

plan that fails to meet this criterion must be summarily dismissed.

       3.       The Debtor in this case has an extended, proven history of misrepresenting his

income and expenses and assets: 1) by asserting impoverishment at his initial divorce trial in
                   Case 17-10671        Doc 31     Filed 05/15/17      Page 2 of 4



2012 while shielding over $500,000.00 in revenue by his wholly owned company, American

Capital Contractors, resulting in a court determination that he “significantly misrepresented” his

income and assets resulting in the imposition of a $15,000.00 attorneys’ fee; 2) by having

concealed unlimited access to a bank account receiving over $600,000.00 in deposits from the

divorce Court during an eighteen-month period in 2012-2014, while arguing poverty. This

second concealment led to the imposition of a $95,000.00 attorneys’ fee sanction against the

Debtor. Attachments 1-2.

        4.      The Debtor in this case has an extended, proven history of filing bad faith

litigation, and/or litigation without substantial justification, which are the criteria for an

attorneys’ fee award in Maryland. Attachments 1-2.

        6.      Within sixty days of filing the instant Petition, Defendant conducted a lavish

wedding at his home that included a cigar bar, live band, and a double wedding reception both at

his large home and at Martin’s Crosswinds, a popular ballroom, while he continues to maintain a

home is on a plot of land approximately the size of a football field (roughly 27,000 square feet).

Attachments 6-10 (Photo Attachments). The amount spent on this wedding, including jewelry,

exceeded $25,000.00, and would not be practical unless the Schedules that Debtor concealed

significant amounts of income, assets, or both.

        7.      The instant bankruptcy filing is simply a continuation of Debtor’s last-ditch, bad-

faith efforts to prevent paying a debt that he has is within his financial capacity, but runs counter

to his emotional desires. These efforts include a previous Chapter 7 bankruptcy in 2015 in this

Court (Case 15-21296), the previous two alimony trials (2012, 2014) which Debtor litigated in

bad faith while concealing assets, concealing income, and pleading impoverishment, a seven-

count failed appeal of the first trial during 2013, and a recent bar complaint against Creditor’s
                 Case 17-10671       Doc 31     Filed 05/15/17     Page 3 of 4



attorney. This adversary proceeding will be the third trial required to demonstrate Debtor’s

concealment of income and assets to a court.

       8.      The instant proceeding, like the previous proceedings, is being conducted in bad

faith, and under concealment of substantial income and assets that will be revealed in discovery,

as Debtor’s disposable income is much higher than that calculated in the bankruptcy schedules,

and must be properly allocated in any proposed confirmation plan. See 11 U.S.C. § 1325.



                                                                             /s/Kerry J. Davidson

                                                            ______________________________

                                                                        Kerry J. Davidson, Esq.
                                                                     1738 Elton Road, Suite 113
                                                                      Silver Spring, MD 20903
                                                               Email kerry@kjdavidsonlaw.com
                                                                            Tel: (240) 394-6330
                                                                           Fax: (866) 920-1535
                                                                                   May 10, 2017
                 Case 17-10671      Doc 31     Filed 05/15/17    Page 4 of 4



                                CERTIFICATE OF SERVICE


        This document was served on all parties of electronic record, on May 15, 2017, via ECF
filing with the Court.




                                                                           /s/Kerry J. Davidson

                                                              ___________________________
                                                                      Kerry J. Davidson, Esq.
